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                                                                                        CLOSED

                            U.S. District Court
                    Southern District of Ohio (Columbus)
         CRIMINAL DOCKET FOR CASE #: 2:17-cr-00044-EAS-1 *SEALED*
                             Internal Use Only 21CR10082 JAH


Case title: USA v. Acuna                                Date Filed: 02/17/2017

Magistrate judge case number: 2:16-mj-00599-EPD         Date Terminated: 05/12/2017


Assigned to: Chief Judge Edmund A.
Sargus

Defendant (1)
Jenaro Miranda Acuna                      represented by Steven S Nolder
TERMINATED: 05/12/2017                                   65 E. State Street
                                                         Suite 200
                                                         Columbus, OH 43215
                                                         614-221-9790
                                                         Fax: 614-358-3598
                                                         Email: snolder9@gmail.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: CJA Appointment

Pending Counts                                          Disposition
                                                        Defendant sentenced to 33 months
CONTROLLED SUBSTANCE -                                  imprisonment (minus time served); 5
SELL, DISTRIBUTE, OR DISPENSE                           years supervised release; No fine
(1)                                                     imposed; No restitution; $100 special
                                                        assessment

Highest Offense Level (Opening)
Felony

Terminated Counts                                       Disposition
None

Highest Offense Level (Terminated)
None




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Complaints                                                         Disposition
21:846=CD.F



Plaintiff
USA                                                 represented by Timothy D. Prichard
                                                                   303 Marconi Blvd
                                                                   Suite 200
                                                                   Columbus, OH 43215
                                                                   614 469-5715
                                                                   Fax: 614 469-5653
                                                                   Email: Tim.Prichard@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Retained
 Email All Attorneys


 Date Filed            #       Docket Text
 12/06/2016                1   COMPLAINT as to Jenaro Miranda Acuna. (sln) [2:16-mj-00599-EPD]
                               (Entered: 12/06/2016)
 12/06/2016                2   Arrest Warrant Issued by Magistrate Judge Elizabeth Preston Deavers in case
                               as to Jenaro Miranda Acuna. (sln) [2:16-mj-00599-EPD] (Entered:
                               12/06/2016)
 12/06/2016                    Arrest of Jenaro Miranda Acuna. (sln) [2:16-mj-00599-EPD] (Entered:
                               12/06/2016)
 12/06/2016                3   Minute Entry for proceedings held before Magistrate Judge Elizabeth Preston
                               Deavers:Initial Appearance as to Jenaro Miranda Acuna held on 12/6/2016.
                               Detention Hearing set for 12/8/2016 02:30 PM in Courtroom 220 -
                               Columbus before Magistrate Judge Elizabeth Preston Deavers. Preliminary
                               Hearing set for 12/20/2016 02:30 PM in Courtroom 220 - Columbus before
                               Magistrate Judge Elizabeth Preston Deavers. Dft remanded. (sln) [2:16-mj-
                               00599-EPD] (Entered: 12/06/2016)
 12/06/2016                4   CJA 23 Financial Affidavit by Jenaro Miranda Acuna. (sln) [2:16-mj-00599-
                               EPD] (Entered: 12/06/2016)
 12/06/2016                    CJA 20 as to Jenaro Miranda Acuna: Appointment of Attorney Steven
                               Nolder by Magistrate Judge Elizabeth Preston Deavers on 12/6/2016. (sln)
                               [2:16-mj-00599-EPD] (Entered: 12/06/2016)
 12/06/2016                5   ORDER OF DETENTION as to Jenaro Miranda Acuna. Detention Hearing
                               set for 12/8/2016 02:30 PM in Courtroom 220 - Columbus before Magistrate
                               Judge Elizabeth Preston Deavers. Signed by Magistrate Judge Elizabeth
                               Preston Deavers on 12/6/2016. (sln) [2:16-mj-00599-EPD] (Entered:
                               12/06/2016)




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 12/08/2016       6   WAIVER of Detention Hearing by Jenaro Miranda Acuna. (sln) [2:16-mj-
                      00599-EPD] (Entered: 12/08/2016)
 12/08/2016       7   ORDER OF DETENTION PENDING TRIAL as to Jenaro Miranda Acuna.
                      Signed by Magistrate Judge Elizabeth Preston Deavers on 12/8/2016. (sln)
                      [2:16-mj-00599-EPD] (Entered: 12/08/2016)
 12/08/2016       8   First MOTION to Continue Preliminary Hearing by Jenaro Miranda Acuna.
                      (Nolder, Steven) [2:16-mj-00599-EPD] (Entered: 12/08/2016)
 12/09/2016       9   ORDER Granting 8 Motion to Continue as to Jenaro Miranda Acuna.
                      Preliminary Hearing reset to 12/28/2016 01:30 PM in Courtroom 220 -
                      Columbus before Magistrate Judge Elizabeth Preston Deavers. Signed by
                      Magistrate Judge Elizabeth Preston Deavers on 12/28/2016. (sln) [2:16-mj-
                      00599-EPD] (Entered: 12/09/2016)
 12/28/2016           NOTICE OF CHANGE IN HEARING as to Jenaro Miranda Acuna:
                      Preliminary Hearing reset to 12/29/2016 11:00 AM in Courtroom 220 -
                      Columbus before Magistrate Judge Elizabeth Preston Deavers. (Previously
                      set for 12/28/2016.) (sln) [2:16-mj-00599-EPD] (Entered: 12/28/2016)
 12/29/2016      10   WAIVER of Preliminary Hearing by Jenaro Miranda Acuna. (sln) [2:16-mj-
                      00599-EPD] (Entered: 12/29/2016)
 01/04/2017      11   Joint MOTION for Extension of Time to Indict New date requested
                      2/2/2017. by USA as to Jenaro Miranda Acuna. (Prichard, Timothy) [2:16-
                      mj-00599-EPD] (Entered: 01/04/2017)
 01/04/2017      12   ORDER Granting 11 Joint Motion for Extension of Time until 2/2/2017 to
                      Indict as to Jenaro Miranda Acuna. Signed by Magistrate Judge Elizabeth
                      Preston Deavers on 1/4/2017. (sln) [2:16-mj-00599-EPD] (Entered:
                      01/04/2017)
 02/01/2017      13   MOTION for Extension of Time to Indict New date requested 3/9/2017. by
                      USA as to Jenaro Miranda Acuna. (Prichard, Timothy) [2:16-mj-00599-
                      EPD] (Entered: 02/01/2017)
 02/01/2017      14   ORDER Granting 13 Joint Motion for Extension of Time until 3/9/2017 to
                      Indict as to Jenaro Miranda Acuna. Signed by Magistrate Judge Elizabeth
                      Preston Deavers on 2/1/2017. (sln) [2:16-mj-00599-EPD] (Entered:
                      02/01/2017)
 02/10/2017      15   *SEALED* SEALED MOTION to Seal Writ of Temporary Custody by
                      USA as to Jenaro Miranda Acuna. (er) [2:16-mj-00599-EPD] (Entered:
                      02/13/2017)
 02/10/2017      16   *SEALED* ORDER granting 15 Sealed Motion to Seal Writ of Temporary
                      Custody as to Jenaro Miranda Acuna. Signed by Magistrate Judge Terence P.
                      Kemp on 2/10/2017. (er) [2:16-mj-00599-EPD] (Entered: 02/13/2017)
 02/10/2017      17   *SEALED* Sealed Writ of Temporary Custody as to Jenaro Miranda Acuna.
                      Signed by Magistrate Judge Terence P. Kemp on 2/10/2017. (er) [2:16-mj-
                      00599-EPD] (Entered: 02/13/2017)



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 02/17/2017      18   MOTION to Seal Case by USA as to Jenaro Miranda Acuna. (mas) (Entered:
                      02/21/2017)
 02/17/2017      19   ORDER granting 18 Motion to Seal Case as to Jenaro Miranda Acuna (1).
                      Signed by Chief Judge Edmund A. Sargus on 2/17/2017. (mas) (Entered:
                      02/21/2017)
 02/17/2017      20   INFORMATION as to Jenaro Miranda Acuna (1) Count 1. (mas) (Entered:
                      02/21/2017)
 02/17/2017      21   PLEA AGREEMENT as to Jenaro Miranda Acuna. (mas) (Entered:
                      02/21/2017)
 02/17/2017      22   ELEMENTS OF THE OFFENSE as to Jenaro Miranda Acuna. (mas)
                      (Entered: 02/21/2017)
 02/17/2017      23   (Court only) ***AO 257 as to Jenaro Miranda Acuna. (mas) (Entered:
                      02/21/2017)
 02/21/2017      24   NOTICE OF HEARING as to Jenaro Miranda Acuna: Arraignment on
                      Information set for 2/24/2017 at 10:00 AM in Courtroom 5 - Columbus
                      before Chief Judge Edmund A. Sargus. (mas) (Entered: 02/21/2017)
 02/21/2017      25   AMENDED NOTICE OF HEARING (Time Change Only) as to Jenaro
                      Miranda Acuna: Arraignment on Information set for 2/24/2017 at 11:00 AM
                      in Courtroom 5 - Columbus before Chief Judge Edmund A. Sargus. (mas)
                      Modified text on 2/21/2017 (mas). (Entered: 02/21/2017)
 02/24/2017      26   Minute Entry for proceedings held before Chief Judge Edmund A.
                      Sargus:Arraignment on Information as to Jenaro Miranda Acuna (1) Count 1
                      held on 2/24/2017, Guilty Plea entered by Jenaro Miranda Acuna (1) as to
                      Count 1. PSI Ordered. Defendant remanded to USMS custody. (Court
                      Reporter: Darla Coulter) (mas) (Entered: 02/24/2017)
 02/24/2017      27   PRESENTENCE REFERRAL sent to Probation as to Jenaro Miranda
                      Acuna. (mas) (Entered: 02/24/2017)
 02/24/2017      34   WAIVER OF INDICTMENT by Jenaro Miranda Acuna. (mas) (Entered:
                      05/10/2017)
 02/27/2017      28   Presentence Report Disclosure Notification received as to Jenaro Miranda
                      Acuna. Report to be completed by Lisa M. Dopp. Presentence Investigation
                      Report due by 5/12/2017. (mas) (Entered: 02/27/2017)
 04/14/2017      29   NOTICE OF HEARING as to Jenaro Miranda Acuna: Sentencing set for
                      5/11/2017 at 01:30 PM in Courtroom 5 - Columbus before Chief Judge
                      Edmund A. Sargus. (mas) (Entered: 04/14/2017)
 04/14/2017      30   *SEALED* SEALED MOTION to File Both this Motion and Sentencing
                      Memorandum Under Seal by Jenaro Miranda Acuna. (mas) (Entered:
                      04/14/2017)
 04/14/2017      31   *SEALED* ORDER granting 30 Sealed Motion as to Jenaro Miranda Acuna




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                      (1). Signed by Chief Judge Edmund A. Sargus on 4/14/2017. (mas) (Entered:
                      04/14/2017)
 04/14/2017      32   *SEALED* SENTENCING MEMORANDUM filed by Defendant Jenaro
                      Miranda Acuna. (mas) (Entered: 04/14/2017)
 05/05/2017      33   *SEALED* SEALED MOTION for Downward Departure by USA as to
                      Jenaro Miranda Acuna. (mas) (Entered: 05/05/2017)
 05/11/2017      35   Minute Entry for proceedings held before Chief Judge Edmund A.
                      Sargus:Sentencing held on 5/11/2017 for Jenaro Miranda Acuna (1) as to
                      Count 1. Defendant sentenced to 33 months imprisonment (minus time
                      served); 5 years supervised release; No fine imposed; No restitution; $100
                      special assessment. (Court Reporter: Darla Coulter) (mas) (Entered:
                      05/12/2017)
 05/12/2017      36   JUDGMENT as to Jenaro Miranda Acuna (1) as to Count 1: Defendant
                      sentenced to 33 months imprisonment (minus time served); 5 years
                      supervised release; No fine imposed; No restitution; $100 special
                      assessment. Signed by Chief Judge Edmund A. Sargus on 5/12/2017. (mas)
                      (Entered: 05/12/2017)
 05/12/2017      37   *SEALED* SEALED Statement of Reasons re: 36 Judgment. (mas)
                      (Entered: 05/12/2017)
 06/01/2017           (Court only) ***JS-3 Closing Information updated. (sem) (Entered:
                      06/01/2017)
 03/10/2021      38   *SEALED* Request and Order for Modifying the Conditions or Term of
                      Supervision with Consent of the Offender as to Jenaro Miranda Acuna. The
                      Court orders the modification of conditions as noted Signed by Judge
                      Edmund A. Sargus on 3/10/2021. (Attachments: # 1 Waiver) (cmw)
                      (Entered: 03/10/2021)
 07/07/2021      39   *SEALED* Request and Order for Modifying the Conditions or Term of
                      Supervision with Consent of the Offender as to Jenaro Miranda Acuna. The
                      Court orders the modification of conditions as noted Signed by Judge
                      Edmund A. Sargus on 7/7/2021. (cmw) (Entered: 07/07/2021)




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